Case 1:90-cr-00446-DRH Document 1196 Filed 12/05/12 Page 1 of 2 PageID #: 153


           cc,  ...... ~~\lr""''r"
           ,,,_,_,     __ , v -~u                                                               F Il E 0
        HCe< .)EN!S f' ,:Jr:: ., Y     MEMORANDUM               U IN CLERI<'S OFFICE
                             TO THE HONORABLE DENIS R. HURLEY'S. DISTRICTCOURTI:.D.NY
            t '•>i • ~ _'":j _                    *
                                   United States District Jndge
                                                                                         *
   *         '~ '    ' "
               --J::.;;
            1-4 ?,
                           ~ .. ·~ ·.
            0:::. :)[5;."01 oc 0
                                     'J
                                          ""'\

                                            ,·:,:-,
                                                       c

                                                      L..~ >J y   RE:   AVELLINO, Salvatore
                                                                                              DEC I) 5 ZD1Z
                                                                                                              *
        _..,-1~;-.,------7· , !POC~T NO.:                               90-CR-446        LONG ISLAND OFFICE

                                                                        REQUEST FOR COURT DIRECTION:
                                                                        FOLLOW-UP
               LQtjG iSLf.i<c- OFFICE
  On July 12,2011, the Probation Department submitted a memorandum to Your Honor requesting
  court direction with regard to a request received from the releasee to consider an early termination
  of his term of supervised release. The releasee's reasons for the request and the Probation
  Department's position with respect to the request were specified in the aforementioned
  memorandum. In sum, the Probation Department supported an early termination, on the grounds
  that terms of supervised release being ordered to run consecutively was statutorily impermissible.
  In addition, we questioned the permissibility of the imposition of terms of supervised release that
  were greater than statutorily authorized (5 year terms imposed on Counts I, 70, and 71 -which
  were only Class C felonies and statutorily restricted to 3 years). On July 19, 20 II, Your Honor
  issued an order directing the government to submit it's position with regard to the early termination
  request by September 9, 2011, and for the releasee to respond, if necessary, by September 30,
  2011. Your Honor indicated that following receipt ofthe government's position and research,
  along with defense counsel's reply, if any, that the Court would rule on the issue presented.

  On September 7, 2011, AUSA Christopher Ott submitted a letter to the Court detailing the
  g6vemment's position with respect to the early termination request. In essence, the Government
  concurred with the position of the Probation Department, and effectively did not object to the
  granting of an early termination of supervised release in this case. On September 15, 20 II, the
  releasee's attorney, Brian Linder, Esq., submitted a letter advising that in light of the Government's
  position, the releasee would not be submitting any further material in support of his early
  termination request.

  Since the aforementioned submissions to the Court (copies of all prior memos and correspondence
  have been attached for the Court's review), the Probation Department has not received further
  direction/instruction with respect to the issues presented in our original July II, 20 II
  memorandum. As such, the Probation Department has continued to supervise the releasee subject
  to the terms of the original sentence. On October 12,2012, the releasee completed his sixth year
  under supervised release and he remainr under active supervision at this time. The releasee
  appears to have lelllalned m compliance with all conditions of his supervision, and no violation
  actions have b_een initiated. Considering the legal questions involved in the present issue
  (permissibility of consecutively ordered terms of supervision, and terms of supervision imposed
  above the statutonly authorized-terms) the Probation Department would-JiKetoimsure the
  appropnateness of continuing to supervise this case. We do however, stand by our original
  recommendation that the Court grant an early termination in this m~- -- · ·
.-    Case 1:90-cr-00446-DRH Document 1196 Filed 12/05/12 Page 2 of 2 PageID #: 154
.•'


         A VELLINO, Salvatore                                                                       2

         As such, at this juncture, we respectfully request guidance from the Court on how to proceed with
         the remaining term of supervised release. Below is an order which Your Honor may uti! ize to
         convey the Court's direction. If Your Honor desires to authorize an early termination we have
         attached an Early Termination Order which may be used to complete that action. As always,
         should Your Honor require any additional information, the Probation Department remains
         available to assist in any way possible. The undersigned officer may be reached at (631) 712-
         6325.

                                                      RESPECTFULLY SUBMITTED:

                                                      EILEEN KELLY
                                                      CHIEF U.S. PROBATION OFFICER

          PREPARED BY:
                              Edward Kanaley
                              Senior U.S. Probation Officer


          APPROVED BY:
                              David J. Washington
                              Supervising U.S. Probation Officer

        November 27 2012
        ORDER OF THE COURT

        Reques~JT Early Termination is hereby:

        Gra~d: Requires completion of attached Early Termination Order
        De!,~€o~~~ Su~sed
                     o:inan~dered: ~ML k' .
                                                        A                   "

        Relea   as                                          I o} ...,.. • ..__   .    IQ.-?- /£.
                                       fhe Honorab 'Denis R. Hurley                         Date
                                       Senior U.S. District Judge
